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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 TIMOTHY JACKSON,                                 §
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §           Civil Action No. 4:21-cv-00033
                                                  §
 LAURA WRIGHT, et al.,                            §                          JURY
                                                  §
        Defendants.                               §



       JOINT MOTION FOR EXTENSION TO FILE A RESPONSIVE PLEADING


        The parties to the above-captioned civil action jointly submit this motion requesting a one-

 week extension of their deadline to respond to the Motions for Summary Judgment filed December

 20, 2024, to January 17, 2025. In support of this request, Defendants state the following:

        1.      On November 13, 2024, Plaintiff filed an unopposed motion to extend the

                dispositive motions deadline to December 21, 2024.          The Court granted the

                motion on November 21, 2024.

        2.      On December 20, 2024, parties timely filed their respective summary judgment

                briefs.

        3.      The parties are currently engaging in settlement negotiations.

        4.      The parties therefore respectfully request the extension in light of the holidays and

                so that they can continue settlement negotiations.

        5.      Federal Rule of Civil Procedure 6(b)(1)(A) provides that the Court may extend

                filing deadlines at its discretion. The undersigned counsel seeks this extension of

                time for good cause shown and in the interest of justice, and not to cause
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            unnecessary delay. No party will be prejudiced if the extension sought herein is

            granted.

       6.   No other deadline is proposed to be extended.

       7.   Counsel for Defendants and Plaintiff have conferred and agree to seek this

            extension.

       8.   For the reasons stated above, Defendants request that this Court extend the deadline

            to file responsive pleadings to January 17, 2025.




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                                                        Respectfully Submitted,

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                                                        Counsel for Defendants


                             CERTIFICATE OF CONFERENCE

         I, the undersigned attorney, hereby certify to the Court that on December 27, 2024, I
 conferred with Michael Allen, counsel for Plaintiff, who indicated he agrees to seeking a one-
 week extension.

                                               /s/ Mary B. Quimby
                                               MARY B. QUIMBY
                                               Assistant Attorney General

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 27th day of December, 2024, I electronically filed the foregoing
 document with the Clerk of the Court using the CM/ECF system, which automatically provided
 notice to the following CM/ECF participants:

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                                                /s/ Mary B. Quimby
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